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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION

UNITED STATES OF AMERICA

vs.                                               CASE NO: 3:98cr49/RV
                                                       3:02cv306/RV/MD

EARNEST SOLOMON HICKS
_____________________________________________________________________

                                          ORDER

       The defendant has filed a notice of appeal (doc. 123) and a motion for certificate of
appealability (doc. 124) with respect to the order entered on March 28, 2005 (doc. 121).
Unless a certificate of appealability is issued, the defendant may not take an appeal from
the final order denying section 2255 relief. See 28 U.S.C. 2253(c)(1)(B). Such a certificate
may issue “only if the applicant has made a substantial showing of the denial of a
constitutional right.” 28 U.S.C. § 2253(c)(2).
       Because the defendant has not made a substantial showing of the denial of a
constitutional right, and for the reasons set forth in this court’s order of March 28, 2005, a
certificate of appealability is DENIED.
       No motion for leave to proceed in forma pauperis has been filed. The defendant has
not shown that the appeal is taken in good faith or that he is otherwise entitled to so
proceed on appeal. Accordingly, the $255.00 filing fee shall be paid within 30 days from
the date of this order.
       DONE AND ORDERED this 16th day of May, 2005.




                                           /s/ Roger Vinson
                                           ROGER VINSON
                                           SENIOR UNITED STATES DISTRICT JUDGE
